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                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF TEXAS
                                    SAN ANTONIO DIVISION

SADIE HACKLER, on behalf of herself                   §
and all others similarly situated,                    §
                                                      §
Plaintiff,                                            §
                                                      §
V.                                                    §           Case No. 5:18-CV-00911-XR
                                                      §
TOLTECA ENTERPRISES, INC. d/b/a                       §
PHOENIX RECOVERY GROUP,                               §
                                                      §
Defendant.                                            §


                    PLAINTIFF’S RESPONSE TO DEFENDANT’S
                  “ADVISORY TO THE COURT ON THE MATTER OF
             THE CLASS PERIOD IN THIS CASE AND MOTION TO MODIFY
         THE CLASS NOTICE TO REFLECT THE CLASS PERIOD OF ONE YEAR”


          Plaintiff and Class Representative Sadie Hackler, by and through her counsel of

record, responds to Defendant’s “Advisory to the Court on the Matter of the Class Period

in this Case and Motion to Modify the Class Notice to Reflect the Class Period of One-

Year” (ECF No. 48) and shows:

          1.      To put Defendant’s latest pleading in context:

                  a. The Complaint in this case was filed August 31, 2018.

                  b. Over a year ago Plaintiff moved to certify a class of consumers who had
                     been sent Defendants collection letter “within the year preceding the
                     filing of the suit”. (ECF No. 30; Ex. 1 1).

                  c. Defendant did not object to Plaintiff’s proposed definition of the class.




1   For ease of reference, only the relevant page(s) of the cited ECF documents are attached as Exhibits.

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              d. The Court certified a class consisting of “All persons in the United States
                 and its territories who, within the year preceding the filing of this
                 suit…” (ECF No. 36, p.14; Ex. 2). (emphasis added)

              e. Plaintiff then moved the Court to approve the form of notice which
                 described the class as those who received the letter “after August 31,
                 2017” (ECF No. 40, 40-1; Ex. 3). (emphasis added)

              f. Without citation to any authority, Defendant objected to the August 31,
                 2017 starting date for the class period. Defendant contended the
                 limitations period should run from the date stated on Plaintiff’s letter,
                 June 5, 2017, rather than a year preceding the filing of the Complaint.
                 (ECF No. 44, p. 2; Ex. 4)

              g. The Court considered Defendant’s objection and rejected it, finding that
                 “the proposed notice’s description of the certified class as including
                 persons who received a letter from Defendant “after August 31, 2017”
                 accurately describes the class certified by this Court’s previous order.”,
                 citing ECF No. 36. (ECF No. 45, p. 10; Ex. 5)

              h. Pursuant to the Court’s order concerning dissemination of the class
                 notice, the attorneys for the parties conferred. They agreed that the
                 August to August time frame was the correct limitations period, rather
                 than the June to June period asserted by Defendant.

              i.   The parties did not discuss changing the actual form of the Court
                   approved notice to articulate the class period as being “August 31, 2017
                   to August 2018” instead of “after August 31, 2017”. In Plaintiff’s mind,
                   after Defendant conceded that the June to June date was incorrect,
                   there was no reason to change the notice period contained in the class
                   certification order and the order approving the notice. The certification
                   order already confines the class to the one-year period as did the order
                   approving the form of notice. Further, Plaintiff does not and has never
                   proposed to send the class notice to people not in the Court-defined one-
                   year class and Plaintiff has never asserted that the class period is longer
                   than one-year preceding the filing of the complaint.

      2.      All that said, the class notice proof has not yet “gone to press” and Plaintiff

has no objection to including the August 31, 2017 to August 31, 2018 language instead

of the “after August 31, 2017” language.




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                                              Respectfully submitted,
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                                                 bill@clantonlawoffice.com
                                              COUNSEL FOR PLAINTIFF




                               CERTIFICATE OF SERVICE

       I certify by my signature below that on June 1, 2020, I have caused a true and correct
copy of the above and foregoing to be served on all counsel of record through the Court’s
Electronic Filing Noticing System.

 Tom Clarke
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 LAW OFFICES OF TOM CLARKE
 8026 Vantage Dr., #105
 San Antonio, Texas 78230
COUNSEL FOR DEFENDANT


                                                  /s/ Benjamin R. Bingham
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Form Letter does not include certain notices required by the FDCPA, nor does is

accurately state the amount of the debt sought to be collected. The letter at issue is

attached to the Bingham Declaration as Exhibit 1, submitted herewith.

         The heart of the contested issue in this case concerns the "superiority" requirement

of Rule 23(b)(3), i.e. whether "a class action is superior to other available methods for

fairly and efficiently adjudicating the controversy." See, Rule 23(b)(3). At the heart of the

superiority dispute lies the class action cap of the FDCPA, which limits damages in a

FDCPA class action to the lesser of $500,000 or 1% of the defendant's net worth. See,

15 U.S.C. §1692k (a)(2). In unsworn discovery response Defendant claims its net worth

is "negative 60 to positive 45K". See Bingham Deel. Ex. B, handwritten page 13 and 14).

Defendant therefore declares that a class action is not "viable" because its net worth is

allegedly so small. See, Defendant's Answer and Motion to Dismiss (Doc. #6.)

         However, because the FDCPA specifically sanctions class actions "without regard

to a minimum individual recovery", 15 U.S.C. §1692k(a)(2), a small or even negative net-

worth is not determinative of class superiority. As discussed below, Courts regularly focus

on the "superiority" requirements of Rule 23 (b)(3) rather than the damage cap of the

FDCPA and have consistently held that a class action is superior to any other method of

resolving many small claims, even where the defendant has small or even negative net

worth.

         (2)    A statement defining the class plaintiff seeks certified, including its

geographical and temporal scope. This action is brought on behalf of a class consisting

of all persons in the United States and its territories, who, within the year proceeding the

filing of the suit, were sent an initial communication letter by Defendant that:



MOTION FOR CLASS CERTIFICATION                                                 Page
                                                                                            EXHIBIT

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          The Court finds that Plaintiff has met her burden of meeting the requirements of Rule 23(a)

and 23(b)(3). For that reason, the Court finds that certification of Plaintiffs FDCPA claim against

Tolteca is appropriate.

   Ill.      Conclusion


          The Court finds that Plaintiff has standing and that she has met the burden of satisfying the

   requirements of Rule 23(a) and (b)(3). Accordingly, the Court GRANTS the Plaintiffs Motion

   for Class Certification and CERTIFIES the following class:


   All persons in the United States and its territories who, within the year preceding the filing of
   this suit, were sent an initial communication letter by Defendant that:

             •   Had these words in this order: "If you dispute the validity of this debt within 30
                 days from receipt of this notice, we will mail verification of the debt to you. If you
                 do not dispute the validity of this debt within 30 days, from receipt of this notice,
                 we will assume it is valid."

             •   Regardless of whether the letter contained the words "in writing" and "written
                 request," the letter included the statement "Your balance may reflect a one-time
                 agency collection fee."

             •   The class does not include persons who, prior to the date the action is certified to
                 proceed as a class, either (1) provided Defendant with a notice of a bankruptcy
                 filing, (2) commenced an action in any court against Defendant alleging violation
                 of the FDCPA, (3) signed a general release of claims against Defendant, (4) is a
                 judge assigned to this case or is a member of such judge's staff or immediate family,
                 or (5) Defendant can demonstrate that the Form Letter was not received by the
                 addressee.


          It is so ORDERED.

          SIGNED this 9th of September, 2019.




                                                XAVIER RODRIGUEZ
                                                UNITED STATES DISTRICT JUDGE

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                            NOTICE OF CLASS CERTIFICATION

1.   This notice IS NOT A LAWSUIT AGAINST YOU, it is a Court approved notice to
     advise you that there is a lawsuit pending that may affect your rights.

2.   For herself and others, Sadie Hackler sued Tolteca Enterprises, dba Phoenix
     Recovery Group (PRG), for violations to the Federal Fair Debt Collection Practices
     Act (FPCPA).The Court in the Western District of Texas, San Antonio Division has
     certified that the case against PRG may proceed as a class action and has granted
     summary judgment for the class as to PRG's liability on two FDCPA claims.

3.   The Court has certified a class of persons to whom PRG sent a letter after August
     31, 2017 that contained the words in bold below; PRG has identified you as a member
     of the class, because it says it sent to you a letter containing these phrases:

     "If you dispute the validity of this debt within 30 days from receipt of this notice,
     we will mail verification of the debt to you. If you do not dispute the validity of
     this debt within 30 days, from receipt of this notice, we will assume it is valid."

     and/or

     "Your balance may reflect a one-time agency collection fee."

4.   The Court will exclude from the class any member who request exclusion. To exclude
     yourself from the class, you need to send a letter or email to the attorneys appointed
     as "Class Counsel" (not to the Court) and it must clearly and specifically request that
     you be excluded from the class. Your request for exclusion must be received by Class
     Counsel by no later than noon, CST on [DATE]. To send requests for exclusion or
     for answers to questions, write (don't call) Class Counsel at:

     William M. Clanton
     926 Chulie Dr. San Antonio Texas, 78216
     Bill@clantonlawoffice.com

     and/or

     Ben Bingham
     319 Maverick Street San Antonio, Texas 78212
     ben@binqhamandlea.com and/or jennifer@binqhamandlea.com

5.   You may enter an appearance through your own attorney if you so desire. If you
     exclude yourself, you will need to pursue your claims by yourself or with your own
     attorney. If you exclude yourself from the class, Class Counsel cannot represent you.


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        Without an existing class, no notice is needed.

        5. Tolteca objects to the statement that "PRG has identified you as a member of the class

because it says it sent you a letter containing these phrases,

        "If you dispute the validity of this debt within 30 days from receipt of this notice, we will

mail verification of the debt to you. If you do not dispute the validity of this debt within 30 days,

from receipt of this notice, we will assume it is valid".

        Objection 1. Plaintiff, not PRG, is the party claiming that the notice recipient has been

identified.

        Objection 2. Any alleged class member must show a concrete injury in fact and not just a

bare procedural omission of the terminology "in writing". Actual non theoretical harm needs to be

shown to have any class membership.

        Objection 3. The terms "your balance may reflect a one time agency collection fee." Again

there must be a showing of harm which will not exist if the total amount due is accurate as there is

no legal requirement that there be any itemization of the balance.

        Objection 4. The alleged class member must have received the quoted notice letter from

PRG within 1 year of June 5, 2018. Only such persons can be part of the class.

        Plaintiff's notice form fails to specify the eligible time period of one year from June 5, 2018.

This is because the FDCPA has a one (I) statute oflimitations. June 5, 2018 is the date of the letter

that Plaintiff claims violated the FDCP A.

        6. Shifting of costs is not required. The general rule is the Plaintiff shall bear the cost of

notice. Defendant objects to being required to pay the costs of class notice or to engage in the work

to determine the class members, their addresses, and to get the notice letters to a bulk mailer. Those


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certifications or representations to the Court that the class notice has been disseminated, and (iv)

bear the costs of notice to the class members.

        Defendant opposes Plaintiffs motion. ECF No. 44. First, Defendant restates arguments

contained in its Motion to Vacate and urges that no class notice will be necessary if the partial

summary judgment were set aside. As stated above, the Court denies Defendant's motion to

vacate, and the grant of partial summary judgment on liability remains intact. Defendant also

objects to specific statements in Plaintiffs notice, argues that the class may only include

members who received.a qualifying letter within one year of June 5, 2018, and opposes "being

required to pay the costs of class notice or to engage in the work to determine the class members,

their addresses, and to get the notice letters to a bulk mailer." Id. 1[ 6.

        The Court finds that Plaintiffs proposed notice complies with Rule 23(c)(2)(B). See

FED. R. C1v. P. 23. The Court also notes that the proposed notice's description of the certified

class as including persons who received a letter from Defendant "after August 31, 2017"

accurately describes the class certified by this Court's previous order. ECF No. 36. Finally, the

Court assumes that Defendant in this case holds the information necessary to identify the class

members.     Therefore, it is ORDERED that the parties confer and submit a joint advisory

outlining a proposed plan to provide notice to the class members within 30 days of this order.

The parties should endeavor to agree on Plaintiffs proposed notice to the class and any changes

thereto. The joint advisory must include (i) the parties' plan to ascertain the names and contact

information for all class members, (ii) the total number of class members, if available at the time

of filing, (iii) the total estimated cost of providing notice to the class, and (iv) any agreement

among the parties as to the allocation of the cost of notice among the parties. Plaintiffs Motion

to Approve (ECF No. 40) will be HELD IN ABEYANCE until the filing of the joint advisory.



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                                                                                                  EXHIBIT

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